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                   IN THE UNITED STATES DISTMCT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                          BROWNSVILLE DIVISION


BLANCA GOMEZ, As Next Friend of §
NAXILEY RAE LYNN ZAMORA, §
NAILEXY YVONNE-DOMITILA ZAMORA§
NAILEA JACQUELINE ZAMORA, and §
ARIANI NAOMI ZAMORA, Minors,               §
Individually and as Heirs of the Estate of §
JOHN RAY ZAMORA, Deceased,                 §
       Plaintiffs,                         §      C.A.No.l:22-CV-0036
                                         §
vs.                                      §
                                         §
CITY OF LYFORD, LYFORD POLICE            §
DEPARTMENT, WILLACY COUNTY,              §
WILLACY COUNTY SHERIFF'S                 §
DEPARTMENT, JOE SALAZAR                  §
      These Defendants.                  §


     DEFENDANTS', THE CITY OF LYFORD AND THE LYFORD
    POLICE DEPARTMENT, MOTION FOR SUMMARY JUDGMENT


                                        Respectfully submitted,

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                                       Federal I.D. No. 20471
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                                       THE LYFORD POLICE DEPARTMENT
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TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW, Defendants, THE CITY OF LYFORD and THE LYFORD

POLICE DEPARTMENT, and pursuant to Rule 56 of the Federal Rules of Civil

Procedure files this, their Motion for Summary Judgment. In support thereof,

Defendants respectfully shows the Court as follows:

                                                      I.

                               PROCEDURAL BACKGROUND

        Plaintiffs' Original Complaint' initially alleged claims against Willacy

County's Sheriffs Department (and certain officers), and The City ofLyford and

The Lyford Police Department (and Officer Salvador Garcia), arising out of the

investigation and arrest of suspect, John Ray Zamora. Plaintiffs and Inter^enors

alleged that The City of Lyford and The Lyford Police Department violated Mr.

Zamora's constitutional Fourth and Fourteenth Amendments to the U.S.

Constitution by unauthorized entry on private property, false arrest, deliberate

indifference and using excessive force on him. Intervenors' First Amended Motion

to Intervene2 was granted by the court on September 7, 2022.3 Plaintiffs and
Intervenors settled their claims against Willacy County and Willacy County

Sheriffs Department.4


' Plaintiffs' Original Complaint, DktNo. 1-4.
2 Intervenors Motion to Intervene, Dkt No. 9
30rder Granting Motion to Intervene, Dkt No. 23
4 Joint Advisory to the Court Regarding Settlement, Dkt No. 48
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                                                      II.

                                 SUMMARY OF ARGUMENTS

        Plaintiffs' and Intervenors' remaining claims against Defendants, The City of

Lyford and The Lyford Police Department is for excessive force against John Ray

Zamora under 42 U.S.C. § 1983, as a result of passing away sometime following his

arrest while in the custody of Co-Defendants Willacy County and/or the Willacy

County Sheriffs Department. Since neither Plaintiffs or Intervenors have evidence

that Officer Salvador Garcia, The City ofLyford or The Lyford Police Department

caused any injury to Mr. Zamora, Plaintiffs' and Intervenors' claims for excessive

force against these Defendants should be dismissed.

                                                     III.

                                    STANDARD OF REVIEW

        The standard of review on summary judgment is whether there is no genuine

issue of material fact, and the moving party is entitled to judgment as a matter of

law.5




s Indestv. Freeman Decorating, Inc., 164 F.3d 258, 261 (5th Cir. 1999).
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                                         IV.

                         STATEMENT OF THE ISSUES

       1. Whether Plaintiffs and/or Intervenors have any evidence that the

          Defendants violated John Ray Zamora's constitutional rights.

      2. Whether Plaintiffs and/or Intervenors have any evidence that a policy,

          practice or custom of the Defendants caused a constitutional deprivation.

                                         V.

                     SUMMARY JUDGMENT STANDARD

      Summary Judgment is "an integral part of the Federal Rules as a whole, which

are designed to secure the just, speedy and inexpensive determination of every

action." Little v. Liquid Air Corp., 37 F.3d 1069, 1074 (5th Cir. 1994, en bane, citing

Celotex Corp. v. Catreti, 477 U.S.317,327, 106 S. Ct. 2548, 2555 91 L.Ed.2d 265

(1986). Summary judgment is appropriate when the pleadings and the evidence

show there is no genuine issue of material fact, and that the movant is entitled to

judgment as a matter of law. Fed. R. Civ. P. 56(c); Fields v. City of South Houston,

922 F.2d 1183, 1187 (5th Cir. 1991). The applicable substantive law identifies those

facts that are material. Fields, 922 F.2d at 1187. And only disputes about those facts

will preclude the granting of summary judgment. Anderson v. Liberty Lobby, Inc.,

447 U.S. 242, 248, 106 S. Ct. 2505, 91 L.Ed.2d 202 (1986). In determining that

there is no material fact dispute, the court must be satisfied that no reasonable trier

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of fact could have found for the nonmovant. Lavespere v. Niasra Mach. & Tool

^orks. Inc., 910 F.2d 167, 178 (5th Cir. 1990).

      The movant has the burden of proving the absence of a genuine issue of

material fact. Id.; Celotex Corp. v. Catrett, 477 U.S. 31 7, 323 (1986). To satisfy this

burden, the movant may present evidence that negates material element of the

nomnovant's claim. Lavespere, 910 F.2d brief in Support of Defendant's Motion

for Summary Judgment at 178. Or, if the nonmovant has the burden of proof at trial,

the movant may satisfy its burden by showing that there is an absence of evidence

to support the nonmovant's case. Id.

      Once the movant makes this showing the burden shifts to the nonmovant to

show that summary judgment is not appropriate. Id. The nonmovant must go beyond

the pleadings and present competent summary judgment evidence showing that there

is a genuine issue for trial. LTV Ed. Sys. Inc. v. Bell, 862 F.2d 1168, 1172 (5th Cir.

1989).

      As more fully developed below, summary judgment in favor of Defendants is

appropriate because the summary judgment evidence establishes as a matter of law

that no violation of 42 U.S.C. § 1983 occurred, as there is no evidence that The City

of Lyford or The Lyford Police Department violated any clearly established rights

of Plaintiffs and Intervenors and/or that a policy, practice or custom of The City of

Lyford or The Lyford Police Department caused a Constitutional deprivation.

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                                        VI.

                          FACTUAL ALLEGATIONS

      This case involves the apprehension of a suspect, John Ray Zamora, on

Febmary 11, 2022. Sometime following his arrest, Mr. Zamora passed away while

in the custody of Co-Defendants Willacy County and/or the Willacy County

Sheriffs Department. Both of these Defendants have settled with all Plaintiffs and

Intervenors.


      As a result of the incident. Plaintiffs and Intervenors are also suing the City

ofLyford and the Lyford Police Department, under 42 U.S.C. Section 1983. See

attached Plaintiffs' Original Complaint, Dkt No. 1-4 and Intervenors Motino to

Intervene, Dkt No. 9.

      On Febmary 11, 2022, at approximately 11:39 AM, Officer Salvador Garcia

was dispatched to 7342 Dario Street in reference to a possible disturbance in

progress. Upon arrival, he observed a male subject, later identified as Mr. John Ray

Zamora, standing at the doorway of the residence. Mr. Zamora began running

frantically in Officer Garcia's direction. He then stopped right in front of Officer

Garcia and advised him that someone was behind him. Officer Garcia did not

observe any other individual behind him. He asked Mr. Zamora if he was the person

calling 911, and Mr. Zamora confirmed he was the person that called 911.



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        Deputy M. Silva, A. Vargas, and J. Rivas with the Willacy County Sheriffs
 Office arrived on location to assist with the call. Officer Garcia advised Deputy M.
 Silva to stand by with Mr. Zamora so that he could check the status of anyone inside
 the residence. At the entrance of the residence, he was approached by Ms. Yvonne
 Zamora, who advised him that Mr. Zamora was her son. Ms. Zamora advised him
 Mr. Zamora had kept her up all night and was hanging out in the area of
 Raymondville the night before. Because of Mr. Zamora's behavior, Officer Garcia
 asked Ms. Zamora if Mr. Zamora was known to use drugs. Ms. Zamora advised him
that Mr. Zamora was known to use cocaine.

       After making contact with Deputy M. Silva who was standing by with Mr.
Zamora, Deputy M. Silva advised Officer Garcia that Mr. Zamora admitted to
ingesting dmgs. He was also advised Mr. Zamora had a backpack inside the
residence with the pills he ingested. Officer Garcia determined he did not have
probable cause to retrieve the bag from inside the residence. He informed Ms.
Zamora to take possession of the bag which was located inside the residence. He
observed Ms. Zamora pick up a black backpack from the living room and place it
into a bedroom located on the southwest comer of the residence. It was determined
that no offense had been committed and Mr. Zamora was advised to return inside
the residence. He advised Ms. Zamora to keep Mr. Zamora inside and contact
authorities if anything else happened.

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      After clearing the scene. Officer Garcia was advised via radio that Willacy

County Sheriff Deputies were out with a male subject who was resisting arrest on

7342 Dario Street. Upon arrival on location, he observed Deputies A. Vargas, M.

Silva, and J. Rivas in the front yard of the residence of 7342 Dario Street on the

ground attempting to detain Mr. Zamora. Mr. Zamora was refusing directives to

place his hands behind his back and was resisting. He also observed a female,

identified as Ms. Zamora, being irate and interfering with the deputies attempting to

detain Mr. Zamora. Mr. Zamora refused multiple commands from officers to

cooperate and continued to resist apprehension. Because the deputies were not able

to obtain control of Mr. Zamora, Officer Garcia then assisted in his detention by

pulling his hand out from under his body and guiding behind his back to be cuffed.

      After several minutes, they were able to detain Mr. Zamora with restraints

hands behind his back. Officer Garcia was infonned by deputies that Mr. Zamora

would be placed under arrest and taken into their custody. He was also infonned Ms.

Zamora was being placed under arrest as well. Mr. Zamora continued to resist and

refused several commands to get into the unit for transport to the county jail. Ms.

Zamora was placed in unit 1D2. Mr. Zamora continued to refuse to sit inside the unit

for transport. Mr. Zamora was eventually placed in the back of unit ID 4 and

transported to the county jail by Deputy J. Rivas. Ms. Zamora was also transported

to the county jail by Deputy A. Vargas.

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      Officer Garcia then made his way to the front of the residence and made

contact with Mr. Roque Romo and Ms. Sylvia Fresquez who were inside the

residence. Mr. Romo advised him the residence was his and M§. Zamora was his

girlfriend. He asked Mr. Romo for consent to retrieve a bag belonging to Mr. Zamora

to retrieve and identify any possible narcotics located inside the bag. Mr. Romo gave

him consent to retrieve the bag. He obtained the bag and inside the bag he was able

to locate several items including what appeared to be drug paraphernalia. The dmg

paraphernalia was a rolled up dollar bill with what appeared to look like white

powdery substance on it.

      Officer Garcia collected the dollar bill as evidence and secured it in Lyford

Patrol Unit 204. The evidence was later transported to the Ly ford Police Department

and placed in storage locker #0128.

See Defendants' Exhibit "I", affidavit of Salvador Garcia, attached hereto.

                                       VII.

                      ARGUMENT AND AUTHORITIES

      PLAINTIFFS' AND INTERVENORS' SECTION 1983 CLAIMS

I. The City of Lyford and Lyford Police Department are entitled to
     summary judgment based upon Plaintiffs' and Intervenors' failure to
      establish a violation of constitutional rights.

      In this case, Plaintiffs and Intervenors only remaining claims are those

asserted against the Defendants under 42 U.S.C. § 1983 for excessive force in

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connection with Mr. Zamora's arrest. In order to establish liability under 42 U.S.C.

§ 1983, Plaintiffs and Inter^enors must plead and prove that a policy, practice or

custom of the Defendants caused a Constitutional deprivation. Monell v. Dept. of

Social Services of City ofNe^v York, 436 U.S.658,694, 98 S. Ct. 2018, 2037-38, 56

L.Ed.2d 611(1978).

      To begin with, the Defendants assert that they are entitled to summary

judgment based upon Plaintiffs' failure to establish that a Constitutional deprivation

occurred in this case, as there is no evidence that Officer Garcia's use of force was

objectively unreasonable. All claims that law enforcement officers have used

excessive force, deadly or not, in the course of an arrest, investigatory stop, or other

"seizure" of a free citizen should be analyzed under the Fourth Amendment and its'

"reasonableness" standard. Graham v. Connor, 490 U.S. 386, 395, 109 S. Ct. 1865,

1871 (1989); Gutierrezv. Connor, 490 U.S.386,394, 109 S. Ct. 1865, 1871-72, 104

L.Ed.2d 443 (1989). With respect to the reasonableness of the force used, the

Supreme Court further statement:

      "The 'reasonableness' of a particular use of force is judged from the
      perspective of a reasonable officer on the scene, rather than with the
      20/20 vision of hindsight. . . Not every push or shove even if it may
      later seem unnecessary in the peace of a judge's chambers violates the
      Fourth Amendment. The calculus of reasonableness must embody
      allowance for the fact that police officers are often forced to make split-
      second judgments-in circumstances that are tense, uncertain, and
      rapidly evolving-about the amount of force that is necessary in a
      particular situation. As in other Fourth Amendment contexts, however,
      the 'reasonableness' inquiry in an excessive force case is an objective
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      one: the question is whether the officers' actions are 'objectively
      reasonable' in light of the facts and circumstances confronting them
      without regard to their underlying intention or motivation . . . . An
      officer's evil intentions will not make a Fourth Amendment violation
      out of an objectively reasonable use offeree; nor will an officer's good
      intentions make an objectively unreasonable use of force
                   55
      constitutional."


Id. (citation omitted; emphasis added).

      The elements of a claim for excessive force are "(1) a more than de minimus

injury; which (2) resulted directly and only from the use of force that was clearly

excessive to the need; and the excessiveness of which was (3) objectively

unreasonable." Bookman v. Shubzda, 945 F.Supp. 999, 1006 (N.D.Tex. 1999);

citing Hudson v. McMillan, 503 U.S. 1, 9, 112 S. Ct. 995, 1000, 117 L.Ed.2d 156

(1992) (overruling "significant injury" requirement in Eight Amendment excessive

force context); cf. Johnson v. Morel, 876 F.2d 477,480 (5th Cir. 1989) (en bane) (per

curiam) (establishing three-prong test for excessive force claims brought by arrestee,

and requiring "significant injury"); see Knisht v. Caldwell, 970 F.2d 1430, 1432-33

(5th Cir. 1992) (recognizing that Hudson overruled Fifth Circuit law requiring

significant injury for excessive force claim), cert. denied, 507 U.S. 926, 113 S. Ct.

1298, 122 L.Ed.2d 688 (1993).

      Clearly, Officer Garcia's actions were objectively reasonable in this case, and

were not excessive. As such, Defendants are entitled to summary judgment as a

matter of law on Plaintiffs' claims for excessive force.


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II. The City of Lyford and Lyford Police Department are entitled to
      summary judgment based upon Plaintiffs' and Intervenors' failure to
      establish that a policy, practice or custom of the Defendants caused a
      constitutional deprivation.

      Furthermore, even if the Court finds a questions of fact as to whether a

constitutional deprivation occurred (which Defendants deny), the Defendants are

entitled to dismissal on each of Plaintiffs' and Intervenors' claims because they

cannot prove that any deprivation of their Constitutional rights was caused by a

policy, practice or custom of the Defendants. In order to establish liability against a

municipality under 42 U.S.C. § 1983, Plaintiffs and Intervenors must plead and

prove that a policy, practice or custom of the Defendants caused a constitutional

deprivation. Monell v. Dept. of Social Services of City ofNe^ York, 436 U.S. 658,

694, 98 S. Ct. 2018, 2037-38, 56 L.Ed.2d 611 (1978).

      If a policy, custom or decision is involved, it must be shown that it was

formulated as a result of a deliberate choice to follow a certain course of action from

among various alternatives. There must also be a direct causal connection between

the policy, custom or decision in question and the alleged constitutional deprivation.

Also, Plaintiffs and Intervenors must show that the custom, policy or decision was

not carried out through a single, isolated incident of misconduct by the officer, but

was put into action by a municipal policy maker, and applied with some frequency

by the officers.



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       To date. Plaintiffs and Intervenors have neither pled nor proven any facts to

support an argument that a custom, policy, ordinance, regulation or decision of the

Defendants proximately caused their damages. Therefore, these Defendants are

entitled to dismissal of each of Plaintiffs' claims with prejudice.

III. The Plaintiffs' and Intervenors' claims are barred by Qualified
      Immunity.

      The doctrine of qualified immunity shields government officials from liability

"so long as their conduct 'does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known." Lincoln v.

Turner. 874 F.3d 833, 847 f5th Cir. 2017) (quoting Mullenix v. Luna, — U.S.

-,136 S. Ct. 305, 308, 193 L.Ed.2d 255 (2015)). Qualified immunity balances two

important interests—the need to hold public officials accountable when they

exercise power irresponsibly and the need to shield officials from harassment,

distraction, and liability when they perform their duties reasonably. The protection

of qualified immunity applies regardless of whether the government official's error

is "a mistake of law, a mistake of fact, or a mistake based on mixed questions of law

and fact.

      When a defendant invokes qualified immunity, the burden shifts to the

plaintiff to demonstrate the defense does not apply. Id. A plaintiff seeking to defeat

qualified immunity must show: "(1) that the official violated a statutory or

constitutional right, and (2) that the right was 'clearly established' at the time of the
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challenged conduct." Id. at 847^8 (quoting Ashcroft v. al-Kidd, 563 U.S.731, 735,

131 S. Ct. 2074, 179 L.Ed.2d 1149 (2011)). A "clearly established right," for

purposes of determining whether a public official is entitled to qualified immunity,

is one that is sufficiently clear that every reasonable official would have understood

that what he is doing violates that right.

      Qualified immunity inquiry turns on objective legal reasonableness of

government official's action, assessed in light of legal rules that were clearly

established at time it was taken. Principles of qualified immunity shield officer from

personal liability when officer reasonably believes that his or her conduct complies

with the law.

      Qualified Immunity is a legal doctrine that shields certain government

officials from suit, rather than simply being a defense to liability. As a police officer

for the Lyford Police Department, Officer Salvador Garcia, was a government

official at the time of the underlying incident and therefore protected by qualified

immunity.

                                         VIII.

                          CONCLUSION AND PRAYER

      The summary judgment evidence establishes that neither Plaintiffs or

Inter^enors have any evidence that either The City ofLyford or The Lyford Police



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Department violated their constitutional rights or that these Defendants had a policy,

practice or custom which caused a constitutional deprivation.

      WHEREFORE, PREMISES CONSIDERED, Defendants the City ofLyford

and Lyford Police Department respectfully move the Court to grant and enter

summary judgment in their favor, and enter an order the Plaintiffs and Interyenors

take nothing by way of their lawsuits against these Defendants and for such other

and further relief to which these Defendants are entitled.

      Signed on this 7th day of December, 2023.

                                Respectfully submitted,

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                                     THE LYFORD POLICE DEPARTMENT




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                          CERTIFICATE OF SERVICE

        I hereby certify that on December 8, 2023, the attached Defendants The City
ofLyford and The Lyford Police Department's Motion for Summary Judgment was
electronically filed with the Clerk of the United States District Court for the Southern
District of Texas Brownsville Division. The Court's ECF system sent notice of filling
to all registered attorneys of record. In addition, a courtesy copy was served by
email on the following:

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                                        /s/ D. Alan Erwin, Jr.
                                       D. ALAN ERWIN, JR.




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